 Case 20-03195-sgj Doc 79 Filed 08/18/21     Entered 08/18/21 17:00:57   Page 1 of 6




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COUNSEL FOR THE CHARITABLE DEFENDANTS

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 In re:                       §                     Case No. 19-34054-sgj11
                              §
 HIGHLAND CAPITAL MANAGEMENT, §
 L.P.,                        §                     Chapter 11
                              §
       Debtor                 §

 OFFICIAL    COMMITTEE                OF §
 UNSECURED CREDITORS,                    §
                                         §


                                      Page 1 of 6
 Case 20-03195-sgj Doc 79 Filed 08/18/21            Entered 08/18/21 17:00:57     Page 2 of 6




        Plaintiff,                              §
                                                §          Adversary No. 20-03195
 vs.                                            §          Relates to Dkt. No. 70
                                                §
 CLO HOLDCO, LTD., CHARITABLE                   §
 DAF HOLDCO, LTD., CHARITABLE                   §
 DAF FUND, LP, HIGHLAND DALLAS                  §
 FOUNDATION, INC., THE DUGABOY                  §
 INVESTMENT TRUST, GRANT JAMES                  §
 SCOTT III IN HIS INDIVIDUAL                    §
 CAPACITY, AS TRUSTEE OF THE                    §
 DUGABOY INVESTMENT TRUST, AND                  §
 AS TRUSTEE OF THE GET GOOD                     §
 NONEXEMPT TRUST, AND JAMES D.                  §
 DONDERO,                                       §
                                                §
        Defendants.                             §

                        AMENDED WITNESS AND EXHIBIT LIST


       CLO HoldCo, LTD. and Highland Dallas Foundation, Inc. (the “Charitable Defendants”)

file this Amended Witness and Exhibit List, which amends Dkt. No. 76, with regards to the hearing

set for August 19, 2021 at 9:30 AM regarding the Motion for Further Extend the Stay of the

Adversary Proceeding Through October 15, 2021 (Dkt. No. 70) (the “Second Stay Motion”) filed

by the Official Committee of Unsecured Creditors (the “Committee”) and Litigation Trustee

(together, the “Movants”).

   A. Charitable Defendants may call to testify:

           1. Any witness identified by or called by any other party;

           2. Any witness needed for authentication of documents; and

           3. Any witness for impeachment or rebuttal.




                                           Page 2 of 6
Case 20-03195-sgj Doc 79 Filed 08/18/21        Entered 08/18/21 17:00:57    Page 3 of 6




 B. Charitable Defendants may introduce:

Exhibit   Description                                                   Offered Admitted

  1.      Declaration of Louis M. Phillips (and Exhibits thereto)

          1 - The Official Committee of Unsecured Creditors’ Fourth
          Requests for Production of Documents

          2- The Official Committee of Unsecured Creditors’ First
          Requests for Production of Documents to CLO HoldCo, Ltd.

          3- Responses and Objections to the Official Committee of
          Unsecured Creditors’ First Requests for Production of
          Documents to CLO HoldCo, Ltd. And email transmitting
          service thereof

          4- July 29, 2020 Email Correspondence from the Debtor to
          CLO HoldCo counsel regarding production to the Debtor

  2.      Declaration of Mark Patrick (with Exhibits removed)

  3.      The Official Committee of Unsecured Creditors’ Emergency
          Motion to Compel Production by the Debtor

          Bankruptcy Case, Dkt. No. 808
  4.      The Debtor’s Motion for Protective Order

          Bankruptcy Case, Dkt. No. 810
  5.      J. Morris Declaration in Support of the Debtor’s Motion for
          Protective Order (including all exhibits thereto)

          Bankruptcy Case, Dkt. No. 811
  6.      The Official Committee of Unsecured Creditors’ Motion for
          Expedited Consideration of its Motion to Compel

          Bankruptcy Case, Dkt. No. 814
  7.      Debtor’s Objection to Motion to Compel

          Bankruptcy Case, Dkt. No. 845
  8.      The Official Committee of Unsecured Creditors’ Objection to
          Motion for Protective Order

          Bankruptcy Case, Dkt. No. 839

                                        Page 3 of 6
Case 20-03195-sgj Doc 79 Filed 08/18/21        Entered 08/18/21 17:00:57      Page 4 of 6




Exhibit   Description                                                     Offered Admitted

  9.      J. Morris Declaration in support of Debtor’s Objection to
          Motion to Compel (and all exhibits thereto)

          Bankruptcy Case, Dkt. No. 848
  10.     Official Committee of Unsecured Creditors’ Omnibus
          Response

          Bankruptcy Case, Dkt. No. 872
  11.     Transcript of Hearing on July 21, 2020

          Bankruptcy Case, Dkt. No. 864
  12.     August 11, 2020 Order on Motion for Clarification

          Bankruptcy Case, Dkt. No. 935
  13.     July 13, 2020 Registry Order

          Bankruptcy Case, Dkt. No. 825
  14.     The Debtor’s Fifth Amended Plan of Reorganization of
          Highland Capital Management

          Bankruptcy Case, Dkt. No. 1808
  15.     Notice of Effective Date

          Bankruptcy Case, Dkt. No. 2700
  16.     Quarterly Fee Statements from FTI Consulting

          Bankruptcy Case, Dkt. Nos. 570, 883, 1244, 1655, 2221, 2611
  17.     Quarterly Fee Statements from Sidley Austin

          Bankruptcy Case, Dkt. Nos. 569. 831, 1296, 1853, 2240, 2585
  18.     The Motion for Rule 2004 Examination

          Bankruptcy Case, Dkt. No. 2620
  19.     Charitable Defendants Response to Motion for Rule 2004
          Examination

          Bankruptcy Case, Dkt. No. 2724
  20.     The First Consolidated Monthly Fee Application of Teneo
          Capital, LLC as Litigation Advisor for the Official Committee
          of Unsecured Creditors for the Period from April 15, 2021 to
          and Including June 30, 2021

          Bankruptcy Case, Dkt. No. 2586


                                        Page 4 of 6
 Case 20-03195-sgj Doc 79 Filed 08/18/21           Entered 08/18/21 17:00:57          Page 5 of 6




 Exhibit     Description                                                       Offered Admitted

    21.      Omnibus Reply of The Litigation Trustee in Support of
             Motion For Entry of an Order Authorizing the Examination Of
             Rule 2004 Parties Pursuant to Rule 2004 of the Federal
             Rules of Bankruptcy Procedure

             Bankruptcy Case, Dkt. No. 2741
             Any document entered or filed in the Adversary Proceeding,
             Bankruptcy Case, including any exhibits thereto

             All exhibits necessary for impeachment and/or rebuttal
             purposes

             All exhibits identified by or offered by any other party at the
             Hearing


The Charitable Defendants expressly reserve the right to amend the forgoing at any time before

the Hearing, including but not limited to the submission of demonstrative exhibits.


                                             Respectfully submitted:

                                             KELLY HART PITRE

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                                             and

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                                             Hugh G. Connor II

                                            Page 5 of 6
 Case 20-03195-sgj Doc 79 Filed 08/18/21           Entered 08/18/21 17:00:57        Page 6 of 6




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                                CERTIFICATE OF SERVICE

       I, undersigned counsel, hereby certify that a true and correct copy of the above and
foregoing document and all attachments thereto were sent via electronic mail via the Court’s ECF
system to all parties authorized to receive electronic notice in this case on this August 18, 2021.

                                             /s/ Louis M. Phillips
                                             Louis M. Phillips




                                            Page 6 of 6
